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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 1:21-cv-21538-KMM

   JAMES E. McDONOUGH and
   VANESSA LYNN McDONOUGH,

                          Plaintiffs,

   v.

   THE CITY OF HOMESTEAD, et al.,

                          Defendants.
                                                 /

                             DEFENDANT GEORGE GRETSAS’S
                         VERIFIED MOTION FOR ATTORNEY’S FEES

          Pursuant to this Court’s Orders (see [ECF Nos. 44, 56, 57, 63]), Federal Rule of Civil

   Procedure 54, 42 U.S.C. § 1988, and Southern District of Florida Local Rule 7.3, Defendant

   George Gretsas moves this Court for an entry of an order awarding reasonable attorney’s fees

   incurred against Plaintiffs, James E. McDonough and Vanessa Lynn McDonough.

   I.     INTRODUCTION

          This Motion assumes the Court’s and the parties’ familiarity with the factual and

   procedural background of this case, which is set forth in detail in the Court’s Report and

   Recommendation. See [ECF No. 57] 1-4. Briefly, the Court entered an Order granting in part and

   denying in part Gretsas’s motion to determine entitlement to attorney’s fees. See [ECF No. 63];

   see also generally [ECF No. 57] (providing detailed analysis on the issue of Gretsas’s entitlement

   to attorney’s fees). The Court did so following its Orders on Defendants’ motions to dismiss and

   Plaintiffs’ motion for reconsideration. See [ECF Nos. 44, 56]. Presently, Gretsas seeks an award

   of attorney’s fees relating to Plaintiffs’ federal claims in the amount of $16,654.95 because these

   claims were frivolous, unreasonable, and groundless, and Plaintiffs continued to litigate after that
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   became clear. Gretsas also requests an award of attorney’s fees incurred in connection with

   litigating attorney’s fees in this matter.

   II.     ANALYSIS

           The hourly rates sought are reasonable. Gretsas seeks recovery of $16,654.95 in this

   matter, broken down as follows: 1

               Professional                         Hours                    Total

               Gerald E. Greenberg, Esq.            14.75                    $3,230.25

               Brian Toth, Esq.                     28.2                     $6,175.80

               Andrew Figueroa, Esq.                15.1                     $3,306.90

               Andrew Fuller, Esq.                  18.00                    $3,942.00

                                                                             $16,654.95


           An award of attorney’s fees is calculated by using the lodestar method, which is the number

   of reasonable hours expended multiplied by the reasonable hourly rate for each timekeeper

   involved. See Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988).

   A reasonable hourly rate is defined as “the prevailing market rate in the relevant legal community

   for similar services by lawyers of reasonably comparable skills, experience, and reputation.”

   ACLU v. Barnes, 168 F.3d 423, 436 (11th Cir. 1999) (quotation marks and citation omitted). The

   relevant legal community is “the place where the case is filed.” Id. at 437 (quotation marks and

   citation omitted).



   1
     Initially, Plaintiffs improperly joined multiple, unrelated claims on behalf of five different
   plaintiffs against Gretsas in Rea v. City of Homestead, No. 21-cv-20488 (S.D. Fla. Feb. 4, 2021).
   A few months later, Plaintiffs pursued severed claims against Gretsas in this action. See Am.
   Compl. [ECF No. 1]. To calculate attorney’s fees from Plaintiffs’ case’s inception to the severance
   thereafter, Gretsas applies a reduction of 40 percent, as Plaintiffs comprised 2 out of the 5 plaintiffs
   in the initial action, to all attorney’s fees and hours expended for those billing time periods.


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          In light of the experience and expertise of the attorneys from Gelber Schachter &

   Greenberg, P.A., the attorney’s hourly rates were reasonable and indeed well below the prevailing

   market rate in the relevant legal community for similar services by lawyers of reasonably

   comparable skills, experience, and reputation. Since the inception of the case, Gelber Schachter &

   Greenberg, P.A. undertook the entirety of the work in representing Gretsas. Gretsas’s litigation

   team was led by Gerald Greenberg, along with Brian Toth, Andrew Figueroa, and Andrew Fuller,

   all experienced attorneys with years of complex litigation experience, including in the First

   Amendment and civil rights areas.

          Gerald Greenberg is a founding shareholder of Gelber Schachter & Greenberg, P.A. and

   was lead counsel on this matter. He graduated from Yale Law School in 2000. Mr. Greenberg has

   been licensed to practice law since 2001 and admitted to the Southern District of Florida since

   2006. He served as a law clerk to the Honorable Stanley Marcus on the United States Court of

   Appeals for the Eleventh Circuit and the Honorable Allyne Ross on the Eastern District of New

   York before serving as an Assistant United States Attorney in the Southern District of Florida and

   then entering private practice. Mr. Greenberg has extensive experience handling a broad range of

   high-stakes criminal, regulatory, and complex commercial litigation matters for corporate,

   individual, and public clients. He also has extensive experience litigating matters for local

   municipalities and their officials. Mr. Greenberg’s firm biography is available at:

   https://www.gsgpa.com/attorneys/gerald-greenberg/.

          Andrew Figueroa is an associate at Gelber Schachter & Greenberg, P.A. He graduated from

   Florida International University College of Law in 2017. Mr. Figueroa clerked for both the

   Honorable Cecilia M. Altonaga of the United States District Court for the Southern District of

   Florida and for the Honorable Vance E. Salter of the Third District Court of Appeal of Florida.




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   Mr. Figueroa’s firm biography is available at: https://www.gsgpa.com/attorneys/andrew-figueroa/.

             Brian Toth is a former partner of Gelber Schachter & Greenberg, P.A, who worked on the

   case before opening his own law firm (Toth Funes P.A.) in the summer of 2021. He graduated

   from University of Miami School of Law and clerked for the Honorable Cecilia M. Altonaga of

   the United States District Court for the Southern District of Florida. Mr. Toth has extensive

   experience in all aspects of litigation at trial and appeal.

             Andrew Fuller is a former associate at Gelber Schachter & Greenberg, P.A., who worked

   on the case before opting to leave the firm in the summer of 2021. A former law clerk to the

   Honorable Paul C. Huck in the Southern District of Florida, Mr. Fuller graduated from University

   of Florida Law School and worked in private practice before clerking. He remains in private

   practice at Nelson Mullins in Miami.

             All attorneys worked on this case at the rate of $219.00 per hour, 2 representing a substantial

   discount from their normal hourly rates. The firm agreed to this low rate as an accommodation to

   the City of Homestead, which was providing indemnification for Gretsas. Although the firm will

   reduce rates for municipal clients, this rate is far lower than that offered even in similar matters.

   Indeed, Mr. Greenberg’s currently hourly rate in standard matters is $700.00, and all attorneys in

   the firm bill significantly more than the rates charged in this case. It is thus readily apparently that

   the $219.00 per hour rate is reasonable for the purposes of the Court’s analysis and well below

   comparable rates in the South Florida legal community. See, e.g., Strategic Mktg., Inc. v. Great

   Blue Heron Software, LLC, No. 15-cv-80032, 2017 WL 1284773, at *6 (S.D. Fla. Feb. 16, 2017)

   (finding that a rate of $375.00 per hour was reasonable); Pretka v. Kolter City Plaza II, Inc., No.

   09-80706-Civ, 2015 WL 11256556, at *2 (S.D. Fla. July 13, 2015) (finding that an hourly rate of



   2
       Plaintiffs do not object to Gretsas’s counsel’s reasonable hourly rate.


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   $560 per hour was appropriate for a partner with twenty years of experience (citing case));

   Rubenstein v. Fla. Bar, No. 14-cv-20786, 2015 WL 1470633, at *3 (S.D. Fla. Mar. 31, 2015)

   (findings rates of $550 per hour, $600 per hour, $500 per hour, and $350 per hour was reasonable

   in a case involving alleged First Amendment violations by the Florida Bar); Hermosilla v. Coca-

   Cola Co., No. 10-21418-Civ, 2011 WL 9364952, at *21 (S.D. Fla. July 15, 2011) (awarding

   $425/hour per partner and $225/hour per associate).

          The hours expended are reasonable. In this Circuit, district courts analyze twelve factors

   to determine the reasonableness of attorney’s fees requested by a prevailing party. See Johnson v.

   Ga. Highway Express, Inc., 488 F.2d 714, 717 (5th Cir. 1974) (establishing guidelines for courts

   to follow in determining fee requests). Those twelve factors are as follows:

          (1) the time and labor required; (2) the novelty and difficulty of the questions; (3)
          the skill requisite to perform the legal service properly; (4) the preclusion of
          employment by the attorney due to acceptance of the case; (5) the customary fee;
          (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client
          or the circumstances; (8) the amount involved and the results obtained; (9) the
          experience, reputation, and ability of the attorneys; (10) the “undesirability” of the
          case; (11) the nature and length of the professional relationship with the client; and
          (12) awards in similar cases.

   Bivins v. Wrap It Up, Inc., 548 F.3d 1348, 1350 n.2 (11th Cir. 2008).

          The time and labor required. The time and diligent effort expended by Gretsas’s counsel

   to achieve the dismissal supports the requested fee. Detailed listings of the hours worked and

   services performed by Gretsas’s attorneys are attached as Exhibit B to Mr. Greenberg’s

   Declaration (see Exhibit A). Services rendered were recorded contemporaneously and accurately

   by this firm in increments of one tenth of an hour. All of the hours of work were necessary and

   required to achieve the successful result at the motion-to-dismiss stage.

          The novelty and difficulty of the case. The issues involved in connection with this litigation

   required a high level of skill and the ability to be able to quickly analyze and brief complex issues.



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   Considerable time was spent briefing multiple motions to dismiss and in reconstructing what

   actually was being alleged and what actually occurred in this case, as contrasted with the

   allegations made in the complaint and amended complaint.

          The requisite skill to perform the legal services properly. This criterion is addressed to the

   Court’s assessment of the attorneys based on its observation of “the attorney’s work product, his

   [or her] preparation, and general ability before the court.” Johnson, 488 F.2d at 718. This criterion

   asks, initially, whether Gretsas’s lawyers were competent and experienced to do the job assigned

   and whether they are deserving of the commercial rate for lawyers engaged in litigation in federal

   court. Here, Gretsas’s attorneys have extensive experience in federal court and otherwise have

   substantial legal skill and expertise both in the area of civil rights and First Amendment litigation.

          The preclusion of employment. While this case did not preclude counsel from other

   employment, significant amount of work was required to properly analyze Plaintiffs’ allegations

   as well as to develop a specific strategy to expose Plaintiffs’ meritless and barred claims.

          The customary fee. Gretsas retained Gelber Schachter & Greenberg, P.A. to defend this

   action on an hourly basis. As discussed above, the hourly rate and attorney’s fees sought by Gelber

   Schachter & Greenberg, P.A. are well below the rate and fees customarily charged by attorneys

   and firms involved in litigation matters. The $219.00 hourly rate is reasonable based on the

   experience, reputation, and abilities of the attorneys.

          Whether the fee is fixed or contingent. The fee agreement between Gelber Schachter &

   Greenberg, P.A. and Gretsas is not contingent; it is based on the number of hours billed at well

   below the firm’s standard, non-contingent rate.

          The time limitations imposed by the client or the circumstances. No time limitations

   existed.




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          The amount involved and the results obtained. The relief being sought by the Plaintiffs in

   this matter was significant. As to the result obtained, Gretsas prevailed in defending against

   Plaintiffs’ federal claims with the Court granting motions to dismiss with prejudice and denying

   Plaintiffs’ motion for reconsideration. From the inception of this case and throughout this

   litigation, Gretsas had no alternative but to proceed and vigorously defend against all of the claims

   that were brought against him by Plaintiffs. Where “the result was excellent,” as here, “then the

   court should compensate for all hours reasonably expended.” Norman, 836 F.2d at 1302.

          The experience, reputation, and ability of the attorneys. Gelber Schachter & Greenberg,

   P.A. is a well-established and respected law firm. As discussed, and detailed above, the partners

   and associates who worked on this litigation case are experienced in matters of this kind and

   familiar with district courts and state courts across Florida.

          The “undesirability” of the case. This case was not undesirable. Gelber Schachter &

   Greenberg, P.A. is privileged to have had the opportunity to represent Gretsas in this matter and

   appear before the Court in these proceedings. Even at the reduced rates described above, the firm

   values and appreciates its local government practice.

          The nature and length of the professional relationship with the client. This litigation was

   the first occasion in which Gelber Schachter & Greenberg and Gretsas shared a professional

   relationship. Gretsas’s attorneys dedicated nearly 18 months to this litigation, and over that time

   developed an open and trusting attorney-client relationship with Gretsas. The relationship that

   developed between the parties surely helped counsel effectively represent Gretsas and obtain a

   successful outcome on his behalf.

          Awards in similar cases. The awards in similar cases support the fee range sought here. See,

   e.g., Strategic Mktg., Inc., 2017 WL 1284773; Pretka, 2015 WL 11256556, at *2; Rubenstein,




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   2015 WL 1470633, at *3; Hermosilla, 2011 WL 9364952, at *21.

          Gretsas is entitled to recover all of his attorney’s fees. Although Gretsas appreciates and

   understands that the Court awarded fees for the federal claims, not the state claims that were not

   dismissed with prejudice, he requests that all fees be granted because the work on the federal

   claims was inextricably intertwined with the work on the state claims.

          “[W]here the claims involve a common core of facts and are based on related legal theories,

   a full fee may be awarded unless it can be shown that the attorneys spent a separate and distinct

   amount of time on counts as to which no attorneys’ fees are sought.” Mukamal v. Swire Pac.

   Holdings, Inc., No. 08-23444-Civ, 2011 WL 13173589, at *3 (S.D. Fla. July 29, 2011) (quotation

   marks omitted); id. (“In other words, where the counts are so inextricably intertwined that

   reasonable apportionment of the attorneys’ time [is] impractical a full fee may be awarded.”);

   Weitz Co., LLC v. Transp. Ins. Co., No. 08-23183-Civ, 2009 WL 5064118, at *4 (S.D. Fla. Dec.

   16, 2009) (“When facts supporting all causes of action are so intertwined that apportionment is not

   feasible, the court may award the prevailing party all attorney’s fees.”); see also United States v.

   Jones, 125 F.3d 1418, 1430 (11th Cir. 1997) (fee award for entire litigation appropriate when a

   claim that provides for a recovery of attorney’s fees is inextricably intertwined with other

   allegations); Brown Jordan Int’l, Inc. v. Carmicle, 2017 WL 5633312, at *4 (S.D. Fla. Aug. 7,

   2017), report and recommendation adopted in 2017 WL 5632811 (S.D. Fla. Aug. 22, 2017)

   (declining to “parse counsel’s time entries” because the “facts and claims are so closely related”).

          Here, the claims are inextricably intertwined such that it would be impossible to separate

   fees incurred on the federal claims from those on the state claims. Put another way, Gretsas should

   be allowed to recover all of his attorney’s fees without any apportionment between specific counts

   of the complaint and amended complaint because all of Plaintiffs’ claims are inextricably




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   intertwined and according to the Court, all stem from prior actions alleging “various causes of

   action related to what [Plaintiffs] claim[] are constitutional violations or state law torts perpetrated

   by the City of Homestead and its employees.” [ECF No. 44] at 5; see Restivo v. Hessemann, 846

   F.3d 547, 592 (2d Cir. 2017) (awarding fees under section 1988 on claims other than prevailing

   claims where “the successful claims were inextricably intertwined with the unsuccessful claims”

   and where “the successful and unsuccessful claims involved both a common core of facts and were

   based on related legal theories.”).

           That said, understanding the Court’s ruling, if the Court does want to apportion the fees,

   Gretsas notes that the federal claims represented four of Plaintiffs’ seven claims, or 57.2% of the

   claims. Although a higher percentage would certainly be justified since the federal claims occupied

   significant attention and the filing in federal court increased the time and effort necessary for

   motions practice, Gretsas should be awarded—at a minimum—57.2% of the total fees if the Court

   is inclined to grant something less than the total amount. See Fox v. Vice, 563 U.S. 826, 838 (2011)

   (“[T]rial courts need not, and indeed should not, become green-eyeshade accountants. The

   essential goal in shifting fees (to either party) is to do rough justice, not to achieve auditing

   perfection. So trial courts may take into account their overall sense of a suit, and may use estimates

   in calculating and allocating an attorney’s time.”).

           Fees-on-Fees award. Gretsas is entitled to compensation for attorney time expended post-

   merits in establishing his right to recover attorney’s fees under 42 U.S.C. § 1988. See Jackson v.

   State Bd. of Pardons & Paroles, 331 F.3d 790, 799 (11th Cir. 2003) (“It is well-settled that fees-

   on-fees are permitted under § 1988 even though Congress did not explicitly provide for fees-on-

   fees therein.”). Gretsas seeks approximately $7,577.40 for 34.6 hours incurred in preparing




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   attorney’s fees motion(s) (Gerald Greenberg: 5.3 hours; Andrew Figueroa: 29.3 hours), 3 and will

   submit an updated estimate of the hours and fees spent litigating this Motion through the date of

   the reply brief. See Pierre-Louis v. Baggage Airline Guest Servs., Inc., No. 19-cv-61306, 2021 WL

   3710139, at *23 (S.D. Fla. Aug. 4, 2021), report and recommendation adopted in 2021 WL

   3709265 (S.D. Fla. Aug. 20, 2021) (recommending $17,547.20 in attorney’s fees in connection

   with the litigation regarding fee recovery).

   III.      CONCLUSION

             For all these reasons, this Court should grant Gretsas’s Motion for attorney’s fees, award

   Gretsas $16,654.95 in attorney’s fees, and award Gretsas his fees incurred litigating attorney’s

   fees. 4

                 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

             Defendant George Gretsas’s counsel conferred with all parties or non-parties who may be

   affected by the relief sought in the Motion in a good faith effort to resolve the issues raised in the

   Motion. As required by the Local Rules, Gretsas timely served a draft of this Motion on Plaintiffs

   on October 28, 2022, 30 days or more before the due date for this Motion. On November 16, the

   parties held a meet and confer by phone during which they discussed the substance of the present

   Motion. The parties were unable to reach an agreement. Plaintiffs indicate they do not object to

   counsel’s hourly rate but nevertheless maintain that Gretsas is not entitled to recover any of his

   attorney’s fees in this matter.



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     The provided attorney’s fees and hours are up and until October 26, 2022. Gretsas reserves the
   right to supplement and update the amount of fees and hours incurred litigating attorney’s fees in
   this matter.
   4
     Certain billing invoices contain entries related to the McDonoughs’ appeal in this matter. To be
   clear, Gretsas does not include, nor is he seeking, any attorney’s fees related to the pending appeal
   in this Motion.


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   Dated: November 28, 2022           Respectfully Submitted,


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